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                                                         LAW OFFICES
                                          HARTMAN & WINNICKI, P.C.
 Dariusz M. Winnicki *º                               74 PASSAIC STREET                         Phone: (201) 967-8040
 Richard L. Ravin *º□                            RIDGEWOOD, NEW JERSEY 07450
 Daniel L. Schmutter*                                                                           Fax: (201) 967-0590
 Andrew T. Wolfe*                                             * * *
________________                                                                                   ________________
* New York and New Jersey Bars                               WEBSITE                               Porter E. Hartman (1920-2009)
 º Florida Bar                                                                                     Charles R. Buhrman (1938-1994)
□ Washington, D.C. Bar
◊ New Jersey Bar
                                                   www.hartmanwinnicki.com                         William T. Marsden (1943-1993)
                                                                                                   Cyrus D. Samuelson (1911-1998)

                                                                      March 16, 2023
        VIA ECF
        The Honorable Renee M. Bumb
        U.S. District Court for the District of New Jersey
        Mitchell H. Cohen Building
        & U.S. Courthouse
        4th & Cooper Streets
        Camden, New Jersey 08101

                                 Re:   Koons, et al. v. Reynolds, et al. - No.: 1:22-cv-07464
                                       Siegel, et al. v. Platkin, et al. - No.: 1:22-cv-07463

                SIEGEL PLAINTIFFS’ SECOND SUPPLEMENTAL LETTER BRIEF IN
                FURTHER SUPPORT OF THEIR MOTION FOR A PRELIMINARY
                INJUNCTION

        Dear Judge Bumb:

                       We represent the Siegel Plaintiffs in the above referenced matter. Please accept this

        second supplemental letter brief in further opposition to Defendants’ position on standing to

        challenge the handgun prohibitions in casinos.

                       Siegel Plaintiffs’ are seeking leave to file the following documents:

                       (1) Declaration of Kenneth Armellino. The Armellino Dec. attaches the results of his

        Open Public Records Act (”OPRA”) request to the Division of Gaming Enforcement

        (“Division”), which includes revealing email communications between the Division and the

        casinos.



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           (2) Supplemental Declaration of Daniel Schmutter. The Supplemental Schmutter

 Declaration attaches various publicly available documents and webpages which demonstrate

 the extremely close relationship between the Division and the casinos.

           The emails attached to the Armellino Dec show that Division Director David Rebuck

 was in direct communication with Casino Association of New Jersey (“CANJ”) attorney

 Joseph Dougherty regarding both the language to be used with and the timing of the as-of-then

 not yet released CANJ statement on the so-called “independent” prohibition on handgun carry

 by the casinos.

           Further, the documents attached to the Supplemental Schmutter Dec show that CANJ

 attorney Dougherty and his family are also long time business owners in Atlantic City,

 including owing a restaurant within the Resorts Casino Hotel which is run my CEO Mark

 Giannantonio, who is also President of the Casino Association of New Jersey (“CANJ”) and

 the same individual who signed the statement of the CANJ regarding the carry of guns in

 casinos.

           Notably, Exhibit B to the Supplemental Schmutter Dec is a cover letter from Dougherty

 to the Casino Reinvestment Development Authority (“CRDA”) seeking site plan approval for

 a local Dougherty family business, Docks Oyster House. The Board of Directors of CRDA

 includes Defendant Attorney General Platkin, Gaming Enforcement Director David Rebuck,

 James Plousis, Chairman of the Casino Control Commission, and Lt. Governor Sheila Oliver.

           Thus, the businesses of casino attorney Dougherty and his family require approvals

 from the very agency run by Attorney General Platkin, Gaming Enforcement Director David

 Rebuck, James Plousis, Chairman of the Casino Control Commission, and Lt. Governor Sheila

 Oliver.



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        Taken together, these documents show a shockingly close relationship between State

 officials and the casinos. This further draws into serious question the idea that the casinos have

 “independently” banned handguns from their premises.

        Rather, this, along with Siegel Plaintiffs’ previous submission regarding the casino

 bailouts by the State, fundamental undermines Defendants’ position on traceability and

 redressability. The argument that there is an “independent” carry prohibition by the casinos

 cannot be taken seriously.


                                                       Respectfully submitted,

                                                       s/ Daniel L. Schmutter__
                                                       Daniel L. Schmutter
                                                       Hartman & Winnicki, P.C.
                                                       74 Passaic Street
                                                       Ridgewood, New Jersey 07450
                                                       (201) 967-8040
                                                       (201) 967-0590 (fax)
                                                       dschmutter@hartmanwinnicki.com

 cc:    Angela Cai, Esq.
        Leon Sokol, Esq.
        Edward Kologi, Esq.
        Howard Goldberg, Esq.
        David Jensen, Esq.




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